       Case 2:23-cv-02784-WB Document 56 Filed 06/13/24 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VALERIA CORBIN, as Administrator of                      CIVIL ACTION
the Estate of Joshua Patterson,
                     Plaintiff,

             v.
                                                         NO. 23-2784
BUCKS COUNTY, et al.,
               Defendants.

                                       ORDER

     AND NOW, this 12th day of June, 2024, as follows:

        1. Upon consideration of Defendants’ Motion for Summary Judgment (ECF No. 40),
           Plaintiff’s opposition thereto (ECF No. 43), Defendants’ reply (ECF No. 44), and
           Plaintiff’s surreply (ECF No. 46), it is HEREBY ORDERED that the Motion is
           GRANTED.

        2. Upon consideration of Defendants’ unopposed Motion to Seal (ECF No. 39), it is
           HEREBY ORDERED that the Motion is GRANTED IN PART and DENIED
           IN PART. Specifically:

                    a. The Motion is DENIED insofar as it seeks to seal discussions of
                       Defendants’ post-incident investigation process.

                    b. The Motion is GRANTED in all other respects.

                    c. On or before June 28, 2024, Defendants shall replace redacted copies
                       of the record in conformance with this order.

        3. Defendants’ Motion to Exclude Plaintiff’s Expert Witness (ECF No. 38) is
           HEREBY DENIED AS MOOT.

        4. The Clerk of Court is instructed to TERMINATE this case and mark it
           CLOSED.


                                                BY THE COURT:

                                                /s/Wendy Beetlestone, J.

                                                _________________________
                                                WENDY BEETLESTONE, J.
